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           EXHIBIT B
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           SUPREME COURT OF THE STATE OF NEW YORK
           COUNTY OF QUEENS
           --------------------------------------------------------------------X   Index No. 705768/2016
           Mehdi Moslem a/k/a Michael Moslem, and
           Accel Motors, Inc.,                                                     AFFIRMATION IN SUPPORT
                                                        Plaintiffs,                OF MOTION TO STRIKE
                                                                                   PLEADINGS AND TO
                            - against-                                             DISMISS PLAINTIFFS’
                                                                                   CLAIMS
           Dante DeMartino, Drew Smith and John Doe, A Co-
           conspirator yet to be Identified,

                                                        Defendants.
           -------------------------------------------------------------------X

                  Michael L. Macklowitz, an attorney admitted to practice law in the State of New York,

          hereby affirms, under penalty of perjury, as follows:

                                                             Overview

                  1.       I am the attorney for defendant Drew Smith in the above-captioned action and, as

          such, I am fully familiar with the facts and circumstances relevant to the instant application

          brought jointly by defendants Drew Smith and Dante DeMartino (collectively “Defendants”).

                  2.       In sum, due to plaintiffs’, Medhi Moslem and Accel Motors, Inc. (collectively

          “Plaintiffs”), repeated and persistent refusal to appear for a deposition in this action, to produce

          requested documents, and to prosecute their claims in this action, Defendants seek an order,

          pursuant to CPLR § 3126, (i) striking Plaintiffs’ pleadings; (ii) dismissing Plaintiffs’ claims in

          this action; (iii) prohibiting Plaintiffs from supporting or opposing the claims in this action; and

          (iv) resolving the issues in this action in favor of Defendants.

                  3.       This action involves competing claims to the ownership of a corporation that in

          turn owns several pieces of real property zoned for commercial use (the “Properties”).

          Throughout the pendency of this action, Plaintiffs have exercised total dominion and control over

          the Properties and, upon information and belief, in that capacity, have entered into lucrative




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          leases with commercial tenants; entered into financing agreements with lending institutions,

          which have encumbered the Properties; and have engaged in a variety of related financial and

          business transactions.

                  4.      Defendants are particularly concerned about Plaintiffs’ management of Accel

          Motors and the Properties, given that, on July 30, 2019, plaintiff Mehdi Moslem was indicted in

          a federal criminal action pending in the Southern District of New York and a second superseding

          indictment was filed on April 6, 2021 in which he is charged (a) in Count One with conspiracy to

          defraud the IRS during the period from 2009 through 2018; and (b) in Count Two with

          conspiracy to commit bank fraud. Exhibit A, Second Superseding Indictment, United States v.

          Mehdi Moslem, a/k/a “Mike Moslem,” and Saaed Moslem, S1 19 Cr. 547 (CS) (“Indictment”).

                  5.      The conspiracy to defraud the IRS charges that, from 2009 and continuing

          through 2018, Moslem and his criminal co-defendant son “operated a scheme intended to

          conceal their substantial profits from a used car dealership business and underreport their

          personal incomes to the Internal Revenue Service (“IRS”) by substantial amounts.” Exhibit A,

          Indictment at 1.

                  6.      The bank fraud conspiracy charges that, from 2011 through 2019, Moslem and his

          criminal co-defendant son, “fraudulently sought and obtained loans for [their business and

          customers of their business] from financial institutions . . . .” Exhibit A, Indictment at 6.

                  7.      In addition, the bank fraud conspiracy charges that Moslem and his son “provided

          the lenders with materially false information about, among other things, their personal finances,

          including, but not limited to, their assets and liabilities, and the amount of income reported in

          their tax returns. The [Moslems] sought to falsely overstate their net worth by, among other

          things, inflating the market value of their real estate assets . . . .” Exhibit A, Indictment at 7.




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                  8.     It is against that backdrop that Defendants raise the issues in the instant motion,

          which, as specified in greater detail below, as well as in the accompanying exhibits, regard the

          fact that Plaintiffs have utterly failed to produce in discovery even the most basic information

          related to the business transactions at issue in this action, including, without limitation,

          applications and closing statements for financing from financial institutions, bank statements,

          lease agreements, tax returns, and related contractual agreements.

                  9.     Given the nature of the criminal charges pending against Plaintiff, Defendants are

          concerned that Plaintiff may have engaged in similar conduct regarding the Properties at issue in

          this action.

                  10.    In light of Plaintiffs’ wholesale disregard of Defendants’ reasonable discovery

          demands, as well as Defendants’ numerous good faith efforts to resolve these issues, the only

          reasonable course of action left to Defendants is to seek the intervention of the Court. The

          information that Defendants seek is necessary to an equitable resolution of the issues; is within

          Plaintiffs’ possession, custody, or control; and is otherwise unavailable to Defendants.

                                             Applicable Legal Framework

                  11.    CPLR § 3126 provides that, where a party “willfully fails to disclose information

          which the court finds ought to have been disclosed pursuant to this article, the court may make

          such orders with regard to the failure or refusal as are just . . . .” CPLR § 3126. The statute

          explicitly provides that, among the orders a court may enter in such situations, are (a) an order

          that the issues “shall be deemed resolved for purposes of the action in accordance with the claims

          of the party obtaining the order”; (b) “an order prohibiting the disobedient party from supporting

          or opposing designated claims or defenses . . .”; and (c) “an order striking out pleadings . . . [and]




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          dismissing the action or any part thereof . . . .” Id. Alternatively, a court may order a

          noncompliant party to provide any disclosure required under applicable statutes. CPLR § 3214.

                 12.        The remedy of striking a party’s pleadings is warranted where a party’s actions

          are “clearly deliberate or contumacious.” Henry Rosenfeld, Inc. v. Bower & Gardner, 161

          A.D.2d 374, 555 N.Y.S.2d 320, 321 (1st Dep’t 1990) (citing Cinelli v. Radcliffe, 35 A.D.2d 829,

          317 N.Y.S.2d 97 (2d Dep’t 1970)).

                 13.        Moreover, “it is axiomatic that the imposition of CPLR 3126 sanctions is within

          the sound discretion of the court and, absent an abuse of that discretion, will not be disturbed on

          appeal.” Gross v. Edmer Sanitary Supply Co., 201 A.D.2d 390, 391, 607 N.Y.S.2d 927 (1st

          Dep’t 1994) (citing In re Cullen, 143 A.D.2d 746 (2d Dep’t 1988) (affirming order precluding

          party from testifying at trial or offering proof on specified issues)); see also Linwood Roofing &

          Construction Co. v. Olit Assocs., 123 A.D.2d 840, 507 N.Y.S.2d 455 (2d Dep’t 1986) (affirming

          order dismissing answer and counterclaim and granting judgment to opposing party).

                 14.        Furthermore, the Second Department has held that, where a party engages in

          extensive delay, an inference may be drawn that the party’s conduct is “willful, evasive, and

          obstructive” and thereby warrants dismissal of the party’s pleadings. Branch v. Crabtree, 197

          A.D.2d 558, (2d Dep’t 1993) (affirming order striking defendants’ answer based on inference

          drawn from “the defendants’ extensive delay in responding to plaintiffs’ interrogatories . . ..” Id.

          (citing Wolfson v. Nassau County Med. Ctr., 141 A.D.2d 815, 530 N.Y.S.2d 27 (2d Dep’t 1988)

          (affirming order dismissing action “even where . . . plaintiff committed no violation of a prior

          court order”)).




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                       Plaintiffs Have Failed to Comply with Discovery Orders and Requests

                 15.      Here, the facts conclusively establish that Plaintiffs’ failure to comply with

          routine discovery requests and failure to advance the action has been “willful, evasive, and

          obstructive.” Accordingly, dismissal of Plaintiffs’ claims is warranted. Branch, 197 A.D.2d at

          558.

                 16.      Plaintiffs commenced this action with the filing of a summons and complaint on

          May 16, 2016.

                 17.      Defendants filed their answers and counterclaims on July 14, 2016.

                 18.      Plaintiffs filed responses to Defendants’ counterclaims on July 29, 2016.

                 19.      A preliminary conference order was entered on August 25, 2016, which required

          discovery demands, responses, and depositions to be completed by December 2016. Exhibit B,

          Preliminary Conference Order, entered August 25, 2016 (the “PC Order”).

                 20.      On September 1, 2016, Defendants served combined discovery demands on

          Plaintiffs, together with a Notice of Deposition. Exhibit C, Defendants’ Combined Discovery

          Demands, Dated September 1, 2016; Exhibit D, Notice of Deposition, dated September 1, 2016.

                 21.      On September 3, 2016, Plaintiffs served document demands on Defendants to

          which Defendants responded on September 30, 2016.

                 22.      As of December 2016, Plaintiffs had not responded to Defendants’ discovery

          requests and depositions were, therefore, not conducted in December.

                 23.      Thereafter, following a compliance conference, the court issued a Compliance

          Conference Order, dated February 6, 2017, which required the parties to disclose all documents

          by March 6, 2017; to conduct depositions by March 16, 2017; and required Plaintiffs to file a




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          note of issue by October 20, 2017. Exhibit E, Compliance Conference Order, dated February 6,

          2017.

                   24.   Commencing in or about October 2016, the parties engaged in extensive litigation

          regarding notices of pendency that Defendants filed against two of the Properties connected to

          this litigation, as well as Defendants’ application for a preliminary injunction limiting Plaintiffs’

          ability to dispose of, or further encumber, the Properties. The litigation of these issues concluded

          a year later, in or about October 2017. Throughout this period, the parties did not engage in

          discovery.

                   25.   On October 20, 2017, Plaintiffs’ filed a note of issue. Exhibit F, Note of Issue,

          dated October 20, 2017.

                   26.   On October 26, 2017, counsel for DeMartino sent a letter to Plaintiffs’ counsel

          informing Plaintiffs that Defendants had not received any response to their combined discovery

          demands, which had been served on September 1, 2016, and requested that responsive

          documents be produced by November 2, 2017 to enable Defendants to make effective use of

          them at the deposition scheduled for November 7, 2017. Exhibit G, Letter from Seth Ginsberg,

          Esq. to Jennifer Bock, Esq., dated October 26, 2017.

                   27.   Plaintiffs, however, failed to produce any documents and depositions did not

          occur.

                   28.   Consequently, on November 8, 2017, Defendants filed a motion to vacate the

          Note of Issue on the ground that Plaintiffs’ falsely represented that, but for depositions,

          discovery was complete, and that depositions would be completed on November 7, 2017.

          Depositions were, however, not completed on November 7, 2017 due to Plaintiffs’ failure to




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          provide any documents in response to Defendants’ demands. Exhibit H, Motion to Vacate, dated

          November 8, 2017.

                 29.     As noted above, the Properties at issue here are substantial commercial properties

          with several commercial tenants that pay rent to Plaintiffs. Yet, Plaintiffs have refused to

          produce even the most basic information regarding these matters. Among the basic documents

          that Plaintiffs have failed to produce are Plaintiffs’ corporate books and records; tax returns;

          closing documents for the various real estate transactions and financings at issue in this action;

          leases; a list of tenants; bank records demonstrating income and expenses; and rent rolls. These

          documents are clearly in Plaintiffs’ possession or under their control and are otherwise

          unavailable to Defendants.

                 30.     On November 10, 2017, while the motion to vacate the note of issue was pending,

          Plaintiffs belatedly made a woefully inadequate “supplemental” discovery production,

          notwithstanding that Plaintiffs had not yet produced any discovery at that point in response to

          Defendants’ Combined Discovery Demands. Exhibit I, Plaintiffs’ Supplemental Response to

          Defendants’ Combined Discovery Demands.

                 31.     On December 6, 2017, counsel for DeMartino wrote to Plaintiffs’ counsel

          reiterating the failure to respond to Defendants’ Combined Discovery Demands. Exhibit J,

          Letter from Seth Ginsberg, Esq. to Jennifer Bock, Esq., dated December 6, 2017.

                 32.     Faced with their failure to provide discovery, Plaintiffs agreed to enter into a “so

          ordered” stipulation that vacated the note of issue and required document production and

          depositions to be concluded by April 30, 2018. Exhibit K, So Ordered Stipulation, dated

          December 12, 2017.




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                 33.     Throughout 2018, there were several adjournments of scheduled depositions and

          additional representations that documents would be produced, but depositions never occurred,

          and no meaningful discovery was produced. Exhibit L, Letter from Lisa A. Herbert, Esq., dated

          January 9, 2018, to Michael Macklowitz, Esq. and Seth Ginsberg, Esq. enclosing Plaintiffs’

          discovery production.

                 34.     Determined to move the action forward, based upon bank records obtained by

          subpoena, on January 25, 2019, Defendants served notice of their intent to depose Plaintiffs on

          February 20, 2019, but Plaintiffs failed to appear for the deposition. Exhibit M, Notice of

          Deposition, dated January 25, 2019.

                 35.     Thereafter, on May 16, 2019, following numerous failed attempts by email and

          telephone to schedule depositions, Defendants again served notice that they intended to depose

          Plaintiffs on June 12, 2019. Exhibit N, Notice of Deposition, dated June 12, 2019

                 36.     Given the numerous failed efforts to depose Plaintiffs, On June 6, 2019,

          Defendants sent a letter to counsel for Plaintiffs seeking confirmation that Plaintiffs would

          appear to be deposed on June 12, 2019. Exhibit O, Letter from Michael L. Macklowitz, Esq. to

          Elias Schwartz, Esq., dated June 6, 2019.

                 37.     On June 10, 2019, counsel for Plaintiffs notified Defendants via email that

          Plaintiffs would not appear to be deposed on June 12, 2019. Exhibit P, Email from Elias

          Schwartz, Esq. to Michael L. Macklowitz, Esq., dated June 10, 2019.

                 38.     In a good faith effort to avoid the instant application, on September 5, 2019,

          Defendants sent a letter to counsel for Plaintiffs detailing the history of obfuscation in which

          Plaintiffs had engaged to that point and advised that if depositions did not occur during October




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         2019, Defendants would seek relief from the Court. Exhibit Q, Letter from Michael L.

         Macklowitz, Esq. to Elias Schwartz, Esq., dated September 5, 2019.

                39.      On December 12, 2019, based upon the above, Defendants filed and served a

         motion seeking an order pursuant to CPLR § 3126 (i) striking Plaintiffs’ pleadings; (ii)

         dismissing Plaintiffs’ claims in this action; (iii) prohibiting Plaintiffs from supporting or

         opposing the claims in this action; and (iv) resolving the issues in this action in favor of

         Defendants. Doc. 145.

                40.      On January 15, 2020, Plaintiffs filed their opposition to Defendants’ December

         12, 2019 motion. Doc. 164.

                41.      On January 21, 2020, Defendants filed their reply in response to Plaintiffs’

         opposition. Doc. 165.

                42.      On February 7, 2020, notwithstanding the details set forth above regarding

         Defendants’ efforts to resolve the issues with counsel for Plaintiffs, the Court issued an order

         denying Defendants’ motion on the ground that Defendants had not submitted an affidavit

         pursuant to 22 NYCRR § 202.7(a) that counsel had conferred in good faith with opposing

         counsel to resolve the issues raised in the motion. Doc. 167.

                43.      Following the Court’s decision denying the motion, Defendants made numerous

         efforts to obtain the necessary discovery and/or to arrange a time to confer with counsel for

         Plaintiffs to resolve any outstanding disputes, including the following:

                      a. June 17, 2020: Email from Seth Ginsberg, Esq. to Sarah Gitomer, Esq.

                      b. June 18, 2020: Email from Seth Ginsberg, Esq. to Sarah Gitomer, Esq.

                      c. March 18, 2021: Email from Seth Ginsberg, Esq. to Sarah Gitomer, Esq.

                      d. March 26, 2021: Email from Seth Ginsberg, Esq. to Sarah Gitomer, Esq.




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                      e. April 1, 2021: Letter from Seth Ginsberg, Esq. to Sarah Gitomer, Esq.

                      f. May 5, 2021: Letter from Seth Ginsberg, Esq. to Sarah Gitomer, Esq.

         Exhibit R, Correspondence from Seth Ginsberg, Esq. to Sarah Gitomer, Esq.

                44.      In each of the above-listed correspondences, Defendants requested the following:

                      a. The corporate books and records of Accel Motors, Inc. for the period from 2011
                         to present.

                      b. The tax returns for Accel Motors, Inc. for the years 2011 through 2020.

                      c. The closing documents for the financing and re-financing of any loans in
                         connection with the real property located at 30-15 Thomson Avenue, Long Island
                         City, New York (“Thomson Avenue) and the real property located at 1114 Fulton
                         Street, Brooklyn, New York (“Fulton Street”) during the period from 2011 to
                         present.

                      d. All leases, rent rolls, and tenant lists for Thomson Avenue and Fulton Street.

                      e. Bank records demonstrating Accel Motors Inc.’s income and expenses in
                         connection with Thomson Avenue and Fulton Street for the period from 2011 to
                         present.

                      f. Documents related to the listing for sale of Thomson Avenue.

                      g. Documents, including, without limitation, the contract of sale and closing
                         statement for the sale of Fulton Street.

         Exhibit R, Correspondence from Seth Ginsberg, Esq. to Sarah Gitomer, Esq.

                45.      In addition, in each correspondence to Plaintiffs’ counsel, Defendants requested

         dates on which Plaintiffs would be available for depositions and informed Plaintiffs’ counsel that

         counsel for Defendants were ready, willing, and prepared to meet and confer in good faith via

         video or telephone to resolve any outstanding discovery issues. Exhibit R, Correspondence from

         Seth Ginsberg, Esq. to Sarah Gitomer, Esq.

                46.      Apart from an email attaching a letter, which is almost entirely unresponsive to

         the discovery requests at issue, counsel for Plaintiffs failed to respond to any of the

         communications from counsel for Defendants. See Exhibit S, Letter from Sarah Gitomer, Esq. to


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         Seth Ginsberg, Esq., dated June 18, 2020. In particular, Plaintiffs have completely failed to

         respond to Defendants’ numerous requests for an opportunity to meet and confer in an effort to

         resolve the issues in this matter.

                47.     Based upon the above, there can be no denying that Plaintiffs’ actions are “clearly

         deliberate” and “contumacious,” given the violation of successive court orders, and it is,

         therefore, appropriate to strike Plaintiffs’ pleadings. Henry Rosenfeld, Inc., 555 N.Y.S.2d at 321;

         Linwood Roofing & Construction Co., 123 A.D.2d 840, 507 N.Y.S.2d 455.

                48.     Indeed, given Plaintiffs’ repeated failure to appear to be deposed and failure to

         provide any meaningful documents in response to Defendants’ demands, at a minimum, one can

         readily infer that Plaintiffs’ conduct is “willful, evasive, and obstructive” and thereby warrants

         dismissal of Plaintiffs’ pleadings. Branch, 197 A.D.2d 558.

                49.     Moreover, the Court has issued numerous orders requiring Plaintiffs to appear to

         be deposed but Plaintiffs have, nonetheless, failed to do so. Thus, dismissal of Plaintiffs’

         pleadings is fully justified. Wolfson, 141 A.D.2d 815, 530 N.Y.S.2d 27 (affirming order

         dismissing action “even where . . . plaintiff committed no violation of a prior court order”)).

                50.     Similarly, precluding Plaintiffs from testifying in opposition to Defendants’

         claims is undoubtedly warranted under the circumstances, given Plaintiffs’ deliberate and

         steadfast refusal to comply with both Defendants’ requests and the orders of the court. Gross,

         201 A.D.2d 390, 391, 607 N.Y.S.2d 927.

                51.     Thus, for all of the foregoing reasons, Defendants respectfully submit that

         Defendants have conclusively demonstrated that Plaintiffs have deliberately and willfully failed

         to comply with the orders of this court and with the reasonable demands of Defendants.




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                 52.     Accordingly, under the circumstances, the court should (i) strike Plaintiffs’

         pleadings; (ii) dismiss Plaintiffs’ claims in this action; (iii) prohibit Plaintiffs from supporting or

         opposing the claims in this action; and (iv) resolve the issues in this action in favor of

         Defendants.

                                                      Conclusion

                 Wherefore, it is respectfully requested that the Court (i) strike Plaintiffs’ pleadings; (ii)

         dismiss Plaintiffs’ claims in this action; (iii) prohibit Plaintiffs from supporting or opposing the

         claims in this action; (iv) resolve the issues in this action in favor of Defendants; and order such

         other and further relief as to the Court seems just and proper.

         Dated: New York, New York
                June 4, 2021

                                                                 Respectfully,



                                                                 __________________________
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